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 6

 7

 8
                         UNITED STATES BANKRUPTCY COURT
 9
                    FOR THE EASTERN DISTRICT OF WASHINGTON
10

11     In re                                         Lead Case No. 21-00141-WLH11
                                                     (Jointly Administered)
12     EASTERDAY RANCHES, INC., et
       al,                                           DECLARATION OF DAN
13                                                   BRUXVOORT IN SUPPORT OF
                       Debtors.                      DLL FINANCE LLC'S
14                                                   MOTION FOR RELIEF FROM
                                                     STAY
15

16
               I, DAN BRUXVOORT, declare as follows:
17
               1.   I am over the age of 18 and am competent to testify. I have personal
18
      knowledge of the facts contained in this declaration and submit this declaration in
19
      support of DLL Finance LLC's Motion for Relief from Stay (the "Motion").
20
               2.   I am a Regional Asset Manager at DLL Finance LLC ("DLL"). In my
21
      role as a Regional Asset Manager, I am responsible for evaluating, establishing and
22
      approving values for equipment in which DLL has a security interest. My education
23
      and experience in evaluating, establishing and approving equipment values
24
      includes, but is not limited to, the following: a Bachelor of Arts degree in
25
      Agriculture Business and have been in Agriculture lending for 20 years. I have been
26


       DECLARATION OF DAN BRUXVOORT IN                             FOSTER GARVEY P.C.
       SUPPORT OF DLL FINANCE LLC'S MOTION                     618 West Riverside Avenue, Ste 300

       FOR RELIEF FROM STAY - 1                                   Spokane, Washington 99201
                                                                        (503) 228-3939


     21-00141-WLH11     Doc 616-3   Filed 04/23/21   Entered 04/23/21 15:14:26     Pg 1 of 12
 1    in the role of Regional Asset Manager for 3 years and completed the following
 2    classes with American Society of Appraisers: ME201: Introduction to Machinery
 3    and Equipment Valuation; ME202: Machinery and Equipment Valuation
 4    Methodology; ME203: Machinery and Equipment Valuation – Advanced Topics
 5    and Case Studies; and ME204: Machinery and Equipment Valuation – Advanced
 6    Topics and Report Writing.
 7          3.     The Iron Guides (“Iron Guides”) is a common resource for valuation
 8    of equipment like the equipment financed by DLL for the Debtors. The Iron Guides
 9    is a compilation of data regarding equipment values using a proprietary model built
10    on actual dealer sales transaction data and refined through analysis of how options,
11    characteristics, usage, and customization impact value.           Iron Guides is a
12    compilation of market reports/quotations regarding equipment values that is
13    generally relied upon by participants in the equipment sales and finance industry.
14          4.     The value of the Equipment, both by the nature of the passing of time
15    and through the use of the Equipment, is deteriorating.
16          5.     I evaluated and assessed the value of the Equipment of the Debtors
17    securing their debt owed to DLL as of the Petition Date by consulting Iron Guides
18    (Winter Edition) for each piece of the Equipment that is included in the Iron Guides
19    (Winter Edition). For those pieces of the Equipment that were not included in the
20    Iron Guides (Winter Edition), I took the book value of those pieces of Equipment
21    and deducted the appropriate depreciation figure. As set forth in Exhibit A attached
22    hereto, the value of the Equipment at Trade Rough (the highest value out of the
23    three methods of valuation: wholesale, trade rough and orderly liquidation value)
24    is $6,481,095.
25    ///
26    ///

       DECLARATION OF DAN BRUXVOORT IN                              FOSTER GARVEY P.C.
       SUPPORT OF DLL FINANCE LLC'S MOTION                      618 West Riverside Avenue, Ste 300

       FOR RELIEF FROM STAY - 2                                    Spokane, Washington 99201
                                                                         (503) 228-3939


     21-00141-WLH11    Doc 616-3   Filed 04/23/21   Entered 04/23/21 15:14:26       Pg 2 of 12
 1          I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF
 2    THE STATE OF WASHINGTON THAT THE FOREGOING IS TRUE AND
 3    CORRECT.
 4          EXECUTED at Johnston, Iowa, this 23rd day of April, 2021.
 5

 6
                                               /s/ Dan Bruxvoort
 7                                         DAN BRUXVOORT
 8

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       DECLARATION OF DAN BRUXVOORT IN                           FOSTER GARVEY P.C.
       SUPPORT OF DLL FINANCE LLC'S MOTION                   618 West Riverside Avenue, Ste 300

       FOR RELIEF FROM STAY - 3                                 Spokane, Washington 99201
                                                                      (503) 228-3939


     21-00141-WLH11   Doc 616-3   Filed 04/23/21   Entered 04/23/21 15:14:26     Pg 3 of 12
     Contract          Collateral          Model       Year       New / Used    Balance       Rate   Per Diem   Wholesale     Trade Rough    OLV
  101‐0438491‐000 AG‐PRO BLADE         GRO 760‐14      2014   U                  72,587.50    0.00     0.00           6,075          6,379      6,075
                  STEIGER TRACTOR      CIH 370         2014   U                                                      96,800        108,490     96,800
  101‐0438918‐000 LSW TIRES            CIH N1988       2018   N                 168,999.96    4.59    21.25           5,063          5,063      5,063
                  TRACTOR WEIGHT ATT   CIH N2021       2018   N                                                       7,102          7,457      7,102
                  LSW TIRES            CIH N1989       2018   N                                                       5,063          5,063      5,063
                  MAGNUM TRACTOR       CIH 200         2018   N                                                      96,060        100,450     96,060
                  MAGNUM TRACTOR       CIH 200         2015   U                                                      62,780         70,440     62,780
  101‐0439115‐000 LIQUID TREATER       MSN 42 IN       2018   N                 110,660.34    4.59    13.91          12,841         13,483     12,841
                  POTATO SEED CUTTER   MSN 84D         2018   N                                                     127,977        134,376    127,977
                  BARRELL DUSTER       MSN 42 IN       2018   N                                                       8,975          9,424      8,975
  101‐0439209‐000 SPRAYER              CIH SPX3200     2004   U                  74,891.11    4.59     9.41          29,380         28,770     29,380
                  SPRAYER              CIH SPX3200     2001   U                                                      22,310         21,390     22,310
                  SPRAYER              CIH SPX3200     2003   U                                                      27,020         26,320     27,020
  101‐0441340‐000 TRACTOR              CIH 500         2018   N                 192,955.11    4.85    25.63         196,740        205,570    196,740
  101‐0456532‐000 DRILL                GRP 20004006    2019   N                 104,139.54    5.74    16.37          21,204         22,264     21,204
                  SPREADER             JBD VM3048      2014   U                                                      24,300         25,515     24,300
                  SPREADER             JBD WM3048      2016   U                                                      43,415         45,586     43,415
  101‐0457736‐000 MOWER                SCL 5026        2019   N                  68,692.49    5.74    10.80          26,211         27,522     26,211
                  PACKER               POE 40FT        2019   N                                                      15,020         15,771     15,020
                  PACKER               POE 34FT        2019   N                                                      15,020         15,771     15,020
                  DISK                 CIH 370         2015   U                                                      14,175         14,884     14,175
  101‐0457739‐000 TRACTOR              CHL MT875B      2007   U                 520,173.01    5.74    81.80          77,810         81,440     77,810
                  TRACTOR              CHL MT865C      2013   U                                                     116,500        127,710    116,500
                  GRAIN DRILL          GRP 3S‐4000     2015   U                                                      17,010         17,861     17,010
                  LOADER               CAT 966H        2015   U                                                      34,144         35,851     34,144
                  IH TRACTOR           CIH 500Q        2014   U                                                     128,890        141,150    128,890
                  ROAD GRADER          CAT 140H        2015   U                                                      30,684         32,218     30,684
                  TRACTOR              CHL MT865C      2012   U                                                     107,760        117,100    107,760
  101‐0462497‐000 LAND FINISHER        SUF SF643337    2019   N                  57,771.35    5.49     8.68          63,995         67,195     63,995
  101‐0462532‐000 BUCKET               CAS 12IN        2019   N                  58,635.10    5.49     8.81             674            708        674
                  BACKHOE              CAS 580N        2013   U                                                      23,683         24,868     23,683
                  SEED TENDER          UNV 410         2019   N                                                      16,345         17,162     16,345
                  BACKHOE              CAS 580SN       2014   U                                                      27,945         29,342     27,945
                  CART                 UNV 410         2019   N                                                      16,404         17,224     16,404
                  BUCKET               CAS 12IN        2019   N                                                         674            708        674
  101‐0470364‐000 MAGNUM 310 TRACTOR   CIH 310         2019   N                 825,729.35    4.55    102.93        151,540        154,680    151,540
                  LANDROLLER           DEN 540         2019   N                                                      18,701         19,636     18,701
                  MAGNUM TRACTOR       CIH 310         2019   N                                                     151,540        154,680    151,540
                  PACKER               POE PRR24       2019   N                                                      14,077         14,781     14,077
                  PACKER               POE PRR24       2019   N                                                      14,077         14,781     14,077
                  CHISEL               CIH PTX600      2019   N                                                      27,300         28,665     27,300
                  RIPPER               KUH 4865‐11     2019   N                                                      52,716         55,352     52,716
                  MAGNUM TRACTOR       CIH 310         2019   N                                                     151,540        154,680    151,540
                  MAGNUM 310 TRACTOR   CIH 310         2019   N                                                     151,540        154,680    151,540
                  RIPPER               KUH 4856‐11     2019   N                                                      52,716         55,352     52,716
  101‐0474817‐000 STEIGER TRACTOR      CIH 420         2016   U                 858,446.96    4.74    111.48        123,050        137,680    123,050
                  STEIGER TRACTOR      CIH 420         2017   U                                                     123,050        137,680    123,050
                  MAGNUM TRACTOR       CIH 280         2015   U                                                      83,520         94,370     83,520
                  MAGNUM TRACTOR       CIH 250         2015   U                                                      78,630         88,960     78,630
                  TRACTOR              CIH MAG280CV    2016   U                                                      92,730        103,330     92,730
                  CULTIVATOR           NOR 4 ROW       2015   U                                                       3,422          3,593      3,422
                  CULTIVATOR           NOR 4 ROW       2015   U                                                       3,422          3,593      3,422
                  BLADE                GRO 14 FT       2020   N                                                      29,651         31,134     29,651
                  MOWER COMBO          CLA DISC3600    2020   N                                                      19,606         20,586     19,606
                  MAGNUM TRACTOR       CIH 250         2015   U                                                      78,630         88,960     78,630
                  BLADE                GRO 14 FT       2020   N                                                      29,651         31,134     29,651
                  CULTIVATOR           NOR 4 ROW       2015   U                                                       3,422          3,593      3,422
                  TELEHANDLER          JCB 541‐70AG    2012   U                                                      23,809         24,999     23,809
                  DISC                 CLA DISC9200    2020   N                                                      38,760         40,698     38,760
  101‐0476600‐000 34‐36‐38 HOPPER      LOC 604P        2020   N                 782,237.59    4.49    96.22          78,072         81,976     78,072
                  34‐36‐38 HOPPER      LOC 604P        2020   N                                                      78,072         81,976     78,072
                  34‐36‐38 HOPPER      LOC 604P        2020   N                                                      78,072         81,976     78,072
                  34‐36‐38 HOPPER      LOC 604P        2020   N                                                      78,072         81,976     78,072
                  34‐36‐38 HOPPER      LOC 604P        2020   N                                                      78,072         81,976     78,072
                  34‐36‐38 HOPPER      LOC 604P        2020   N                                                      78,072         81,976     78,072
                  34‐36‐38 HOPPER      LOC 604P        2020   N                                                      78,072         81,976     78,072
                  34‐36‐38 HOPPER      LOC 604P        2020   N                                                      78,072         81,976     78,072
  101‐0478724‐000 TRIPLE MERGER        OXB 2334        2019   N                1,569,173.35   3.84    165.08         94,711         99,447     94,711
                  SILAGE TRAILER       PAA 34 FT       2020   N                                                      37,500         39,375     37,500
                  SILAGE TRAILER       PAA 34 FT       2020   N                                                      37,500         39,375     37,500
                  SILAGE TRAILER       PAA 34 FT       2020   N                                                      37,500         39,375     37,500
                  SILAGE TRAILER       PAA 34 FT       2020   N                                                      37,500         39,375     37,500
                  ROTARY HEADER        CLA ORBIS750    2020   N                                                     115,793        115,793    115,793
                  FORAGE HARVESTER     CLA 990SPFH     2020   N                                                     400,170        400,170    400,170
                  SILAGE TRAILER       PAA 34 FT       2020   N                                                      37,500         39,375     37,500
                  SILAGE TRAILER       PAA 34 FT       2020   N                                                      37,500         39,375     37,500
                  PICKUP HEADER        CLA PU380       2020   N                                                      30,472         30,472     30,472
                  PICKUP HEADER        CLA PU380       2020   N                                                      30,472         30,472     30,472
                  FORAGE HARVESTER     CLA 990SPFH     2020   N                                                     400,170        400,170    400,170
                  ROTARY HEADER        CLA ORBIS750    2020   N                                                     115,793        115,793    115,793
  101‐0479416‐000 PRO SEED HANDLING    UNV 410         2020   N                 600,901.49    3.84    63.21          18,120         19,026     18,120
                  PACKER               PAA 30 FT       2004   U                                                      15,673         16,457     15,673
                  ROW CROP CULTIVATO   NOR 4 ROW       2020   N                                                       5,459          5,732      5,459
                  MAGNUM TRACTOR       CIH 200         2020   N                                                     110,530        112,820    110,530

                                                                                                                               EXHIBIT A
                                                                                                                                Page 1 of 2
21-00141-WLH11                  Doc 616-3             Filed 04/23/21             Entered 04/23/21 15:14:26                         Pg 4 of 12
                  GUIDANCE SYSTEM      TML 2050      2020   N                                                       104,000       104,000      104,000
                  WHEEL LOADER         CAS 821G      2020   N                                                       144,875       152,119      144,875
  101‐0485707‐000 MANURE SPREADER      LEN 5000      2020   N                        230,097.13   4.19   26.41       76,551        80,379       76,551
                  FEED MIXER TRAILER   RTX 920‐18    2020   N                                                        90,080        94,584       90,080
  101‐0487948‐000 POTATO HARVERSTER    OXB AR‐4BX    2020   N                        805,905.98   4.19   92.51      546,172       573,481      546,172

                                                            Totals:                   7,750,457                   $6,191,766    $6,481,095    6,191,766
                                                             Surplus/(Deficiency):                               -$1,558,691   -$1,269,362   -1,558,691




                                                                                                                               EXHIBIT A
                                                                                                                                Page 2 of 2
21-00141-WLH11                   Doc 616-3          Filed 04/23/21                   Entered 04/23/21 15:14:26                    Pg 5 of 12
 1                            CERTIFICATE OF SERVICE
 2           I hereby certify on April 23, 2021, I electronically filed the foregoing
 3    DECLARATION OF DAN BRUXVOORT IN SUPPORT OF DLL FINANCE
 4    LLC'S MOTION FOR RELIEF FROM STAY with the Clerk of the Court using
 5    the CM/ECF system which will send notification of such filing to the persons listed
 6    below:
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       DECLARATION OF DAN BRUXVOORT IN                            FOSTER GARVEY P.C.
       SUPPORT OF DLL FINANCE LLC'S MOTION                    618 West Riverside Avenue, Ste 300

       FOR RELIEF FROM STAY - 4                                  Spokane, Washington 99201
                                                                       (503) 228-3939


     21-00141-WLH11    Doc 616-3   Filed 04/23/21   Entered 04/23/21 15:14:26     Pg 6 of 12
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       DECLARATION OF DAN BRUXVOORT IN                           FOSTER GARVEY P.C.
       SUPPORT OF DLL FINANCE LLC'S MOTION                   618 West Riverside Avenue, Ste 300

       FOR RELIEF FROM STAY - 5                                 Spokane, Washington 99201
                                                                      (503) 228-3939


     21-00141-WLH11   Doc 616-3   Filed 04/23/21   Entered 04/23/21 15:14:26     Pg 7 of 12
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            Trevor R Pincock tpincock@lukins.com, mlove@lukins.com
26          Trevor R Pincock


       DECLARATION OF DAN BRUXVOORT IN                           FOSTER GARVEY P.C.
       SUPPORT OF DLL FINANCE LLC'S MOTION                   618 West Riverside Avenue, Ste 300

       FOR RELIEF FROM STAY - 6                                 Spokane, Washington 99201
                                                                      (503) 228-3939


     21-00141-WLH11   Doc 616-3   Filed 04/23/21   Entered 04/23/21 15:14:26     Pg 8 of 12
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       DECLARATION OF DAN BRUXVOORT IN                           FOSTER GARVEY P.C.
       SUPPORT OF DLL FINANCE LLC'S MOTION                   618 West Riverside Avenue, Ste 300

       FOR RELIEF FROM STAY - 7                                 Spokane, Washington 99201
                                                                      (503) 228-3939


     21-00141-WLH11   Doc 616-3   Filed 04/23/21   Entered 04/23/21 15:14:26     Pg 9 of 12
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              I hereby certify that the foregoing DECLARATION OF DAN
 6
       BRUXVOORT IN SUPPORT OF DLL FINANCE LLC'S MOTION FOR RELIEF
 7
       FROM STAY was served on the following via first class mail, postage prepaid:
 8

 9            AMEX TRS Co., Inc.
              c/o Becket and Lee LLP
10            PO Box 3001
11            Malvern, PA 19355-0701
12            Alto Nutrients, LLC
13            Attn: Christopher Wright
              400 Capitol Mall, Suite 2060
14            Sacramento, CA 95814
15
              Timothy R. Bow
16            Bryan Cave Leighton Paisner LLP
17            161 North Clark Street, Suite 4300
              Chicago, IL 60601-3315
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19            Jason J. DeJonker
              Bryan Cave Leighton Paisner LLP
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21            Chicago, IL 60601-3315
22            Robert Faucher
23            Holland & Hart LLP
              800 W. Main St.
24
              Suite 1750
25            Boise, ID 83702
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17           Boise, ID 83701
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             Cullen D. Speckhart
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             New York, NY 1000
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       ///
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26     ///


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        SUPPORT OF DLL FINANCE LLC'S MOTION                    618 West Riverside Avenue, Ste 300

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     21-00141-WLH11   Doc 616-3    Filed 04/23/21   Entered 04/23/21 15:14:26     Pg 11 of 12
 1          Brian C. Walsh
 2          Bryan Cave Leighton Paisner LLP
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 3          211 North Broadway, Suite 3600
 4          St. Louis, MO 63102

 5
            DATED this 23rd day of April, 2021.

 6                                                 FOSTER GARVEY P.C.
 7
                                                    /s/ Tara J. Schleicher
 8                                                 Tara J. Schleicher, WSBA #26884
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        DECLARATION OF DAN BRUXVOORT IN                           FOSTER GARVEY P.C.
        SUPPORT OF DLL FINANCE LLC'S MOTION                   618 West Riverside Avenue, Ste 300

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     21-00141-WLH11   Doc 616-3   Filed 04/23/21   Entered 04/23/21 15:14:26     Pg 12 of 12
